
Per Curiam.
Upon review pursuant to Anders v. California , 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), we find no error with Appellant's judgment or sentence, and affirm. We write only to correct a scrivener's error on Appellant's written sentence. See *262Ashley v. State , 850 So. 2d 1265, 1268 n. 3 (Fla. 2003) (defining a scrivener's error as a written clerical error that is not "the result of a judicial determination or error"); Rivera v. State , 117 So. 3d 449 -50 (Fla. 2d DCA 2013) (remanding for correction of the written sentences to reflect the oral pronouncement in an Anders appeal). In the written sentence, the sentence imposed on count 3 is erroneously listed as count 1. On remand, the trial court shall correct the error.
Wetherell, Jay, and M.K. Thomas, JJ., concur.
